                                                          U.S. Department of Justice


                                                          United States Attorney
                                                          Eastern District of New York
1




EAG/NIS/MCM                                               271 Cadman Plaza East
F. #2019R00029                                            Brooklyn, New York 11201



                                                          December 5, 2019


By Federal Express

Douglas C. Anton, Esq.
Three University Plaza Drive, Suite 407
Hackensack, New Jersey 07601

                Re:      United States v. Robert Sylvester Kelly
                         Criminal Docket No. 19-286 (S-2) (AMD)

Dear Mr. Anton:

               Enclosed please find the government’s discovery in accordance with Rule 16
of the Federal Rules of Criminal Procedure. This letter supplements the government’s
previous productions by letters dated August 15, 2019 and October 16, 2019. The
government also renews its request for reciprocal discovery from the defendant.

I.      The Government’s Discovery

        A.      Documents and Tangible Objects

                Please find enclosed a CD that contains the following items.1 These items are
subject to the terms of the protective order entered by the Court on or about August 13, 2019.




1
  The references herein to Jane Doe #1 refer to the individual identified as Jane Doe #1 in the second
superseding indictment, returned today (the “Operative Indictment”). The references herein to Jane Doe #4
and Jane Doe #5 also refer to the individuals identified as Jane Doe #4 and Jane Doe #5 in the Operative
Indictment. These individuals were previously identified as Jane Doe #3 and Jane Doe #4, respectively, in
prior indictments.
Discovery
                                                    Description
 Exhibit

   90       Cook County Clerk’s Office marriage records for Robert Kelly and Jane Doe #1

   91       Wayne County Clerk’s Office annulment records for Robert Kelly and Jane Doe #1

   92       Birth certificate for Jane Doe #1

   93       Illinois Department of Human Services records

   94       Illinois Secretary of State driving and auto records for Robert Kelly

  94a       Business Records Certification for Discovery Exhibit 94

   95       Birth certificate for Jane Doe #4

            Photographs taken by the Chicago Police Department on or about February 11,
   96
            2002 and June 7, 2002

   97       Albany Police Department records for a concert held on August 31, 1994

  97a       Business Records Certification for Discovery Exhibit 97

            Resorts World Casino New York City records for a concert held on August 26,
   98
            2016

            Metropolitan Correctional Center Chicago records for Robert Kelly and another
   99
            inmate

            Southwest Airlines records for air travel on August 16, 2016, September 12, 2016,
  100
            November 17, 2018 and November 20, 2018 for various individuals

  100a      Business Records Certification for Discovery Exhibit 100

            American Airlines records for air travel on December 22, 2013, March 26, 2014,
  101       April 12, 2016, April 13, 2016, October 28, 2016, December 15, 2017 and
            February 5, 2018 for various individuals

  101a      Business Records Certification for Discovery Exhibit 101

            United Airlines records for travel on September 23, 2016, October 10, 2017 and
  102
            October 11, 2017

  102a      Business Records Certification for Discovery Exhibit 102


                                                2
       Southwest airlines records for July 16, 2015 for various individuals including Jane
103
       Doe #5

104    JP Morgan Chase records

104a   Business Records Certification for Discovery Exhibit 104

105    First Midwest Bank records

106    JP Morgan Chase records

106a   Business Records Certification for Discovery Exhibit 106

107    Bank of America records for RSK Enterprises LLC and Somebrotherluv LLC

107a   Business Records Certification for Discovery Exhibit 107

108    Illinois Secretary of State records for Sombrotherluv LLC

108a   Business Records Certification Discovery for Exhibit 108

109    Georgia Secretary of State records for RSK Enterprises LLC

110    Delaware Secretary of State records for RSK Enterprises LLC

110a   Business Records Certification for Discovery Exhibit 110

111    Bank records provided by Jane Doe #4

112    Florida Department of Transportation records

113    Illinois Tollway records

113a   Business Records Certification for Discovery Exhibit 113

114    Riverlink records

115    Port Authority of New York and New Jersey records

115a   Business Records Certification for Discovery Exhibit 115




                                        3
       You may examine the physical evidence discoverable under Rule 16, including
original documents, by calling the undersigned to arrange a mutually convenient time.



                                                 Very truly yours,

                                                 RICHARD P. DONOGHUE
                                                 United States Attorney

                                          By:     /s/ Elizabeth A. Geddes
                                                 Elizabeth A. Geddes
                                                 Nadia Shihata
                                                 Maria Cruz Melendez
                                                 Assistant U.S. Attorneys
                                                 (718) 254-7000

Enclosures

cc:    Clerk of the Court (AMD) (by ECF) (without enclosures)




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